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District Court Judge James L. Robart

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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON SG _ JUL 78 2021

AT SEATTLE
CLERK Us react COURT
WESTERN DISTRICT OF WASHINGTON
UNITED STATES OF AMERICA NO. CR 19-P¥7-JLR DEPUTY
v. GOVERNMENT’S MOTION TO

SEAL
SHAWNA REID,

Defendant.

 

 

 

The United States of America, by and through its counsel of record, Nicholas L.

McQuaid, Acting Assistant Attorney General, United States Department of Justice,
Matthew K. Hoff, Trial Attorney, and Christina Taylor, Trial Attorney, hereby moves this
Court for an order permitting the government to file under seal (a) an ex parte notice of
filing under seal; and (b) a compact disc containing an audio recording of the Defendant
Shawna Reid’s Grand Jury testimony of February 28, 2018 (“CD”). Sealing is permissible
and appropriate for the ex parte notice and CD, which are being lodged concurrently with
this motion to seal, because they discuss grand jury matters pursuant to Federal Rule of

Criminal Procedure 6(e).

If this Court denies this motion to seal and determines that the government’s ex

parte notice and the CD should not be filed under seal, the government respectfully
requests that the Court return those documents and materials to government counsel

without filing them publicly.

Motion to Seal ASSISTANT ATTORNEY GENERAL
United States v. Reid, No. CR19-117JLR 1301 Se NW
WASHINGTON, D.C. 20005
(202) 514-3594
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The government further requests that the ex parte notice and CD remain under seal

unless the Court orders unsealing at a later date.

DATED this 8" day of July 2021.

Motion to Seal
United States v. Reid, No. CR19-117JLR

Respectfully submitted,

Nicholas L. McQuaid
Acting Assistant Attorney General

s/Matthew_K. Hoff
MATTHEW K. HOFF

Trial Attorney

s/Christina Taylor
CHRISTINA TAYLOR
Trial Attorney

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